17-23069-rdd   Doc 29-2 Filed 09/15/17 Entered 09/15/17 17:06:09   Exhibit
                      Exhibit 2 - Judgment Pg 1 of 8




                EXHIBIT 2
    17-23069-rdd           Doc 29-2 Filed 09/15/17 Entered 09/15/17 17:06:09                  Exhibit
                                  Exhibit 2 - Judgment Pg 2 of 8




SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF WESTCHESTER
-----------------------------------------------------------------){
                                                                      Index No.: 69747/2014
NOELLE FELDMAN,
                                    Plaintiff,
                                                                      JUDGMENT WITH
         -against-                                                    NOTICE OF ENTRY

WILLIAM KNACK,                                                        Assigned Justice:

                                    Defendant.                        Han. Terry Jane Ruderman

-----------------------------------------------------------------){

         PLEASE TAKE NOTICE that the within is a true copy of the Judgment in the

captioned action duly entered in the office of the Clerk of the within named Court on April13,

2017.

Dated: White Plains, New York
       April13, 2017



                                                                         CHMIDT,LLP




                                                      Attorneys for Plain ·
                                                      ONE NORTH LEJ{ GTON AVENUE
                                                      P.O. BOJ{ 5056
                                                      WHITE PLAINS, NY 10602-5056
                                                      (914) 949-2700


TO:     JOSEPH J. BROPHY, ESQ.
        MCCARTHY FINGAR LLP
        Attorneys for Defendant
        11 MARTINE A VENUE
        WHITE PLAINS, NY 10606
        (914) 946-3700
               17-23069-rdd                    Doc 29-2 Filed 09/15/17 Entered 09/15/17 17:06:09                                                                                                                                                               Exhibit
                                                      Exhibit 2 - Judgment Pg 3 of 8
                                                                                                                                                                                                                                                  INDEX NO. 69747/2014
lifYBE!BP BEIE!. H8. · 113                                                                                                                                                                                                Rl!t8!H?i"8B lfYSOBF.                  94(13/2817




                                                                                                                                                                    ..

                  SUPREME COURT OF THE STATE OF }'iEW YORK
                  COUNTY OF WESTCHESTER · .       .      .                                                                                                                    '       \-       '
                  ---... . :"'. . . . _. .___________. . . .................. ...
                                                                       ~                                 ~~           :.--·-···-·~-x·

                  NOELLE FELDMAN,                                                                                                                                            Index No.: 69747/2014
                                                                       .· ·, Plaintiff, ,

                             ·against· ·                                                                                                                                     JUDGME;NT:

                  WILLIAM KNACK,

                                                           · . · Defendant.                                                                    . .. . .
                  --------·-·~----·~ -~ ··--~-;..:"       .. ...                                         . . . . .:. "':_.:. ,___. _~-. x- ·.
                             WHEREAS thc.above-entitt'ed action having come' qn for' a'j~ry trial before.Hon. T~IT)'
                                                              ~    .     • '               .                      .                   '              ••• '   ., .                          ~                '   '   •             l


                  Jane Rudennan, at the Supre~~. CoWt of the State of New York, County of Westchester, located

                  at lll Dr. Martin Luther King, Jr; Boulevordt 'White Plains, New York, on the 6th, 7th, 8th; 9th,
                                                                                   '                     '                                                      •                                  ~·                         •           !

                                                  •       '




                  lOth, 13th, 16th and 17th days ofMarch, .2017;
                                                           .      .                            +              '




                                                          ·•• ·                                              .                            .a                        •         . •.•            •                          •                       •
                             WHEREAS at the oo.nclusion of the f.r!aJ. the jury returned a verdict on March 17, 20.1 7,

                  In favor of Plaintiff Noelle Feldman. in accordance with .the Verdict Sheet annexed hereto as
                                                      .                                                       •.J                 '                                           <




                  Exhibit 1; ·.
                                                                                                                                                                             ..   '



                             NOW, on the m.~tion of Bleakley' Platt & Schmidt,- LLP, attorneys for Plaintiff Noelle
                               '                                                       .                                                                                '·

                  Feldm~           for a Judgment, ·1~ is                                                                                                                                                                     • h     :       .
                                                                                                    .    l
                                                                                                                                                                                                                         ..
                             ORDERED, ADJU:PGED,
                                             . ·. . AND DECREI£D
                                                         ... . . .'that Plill~tiff
                                                                           . 'Noelle Feldmat~, who
                                                                               ~




                  resides at 9A Lewis Road, P9~nd Ridge, New Yo* iOS76, have judgment against Defendant .
                                                                        _,.__ ..               '
                                                                                                                      .....
                                                                                                                              .                                               ~·-----....                                                             .,   ---·-·····-
                . William Knack, who resides at l)S Bedford Road;Chappaq~a, }'lew York'·l0514, In the principal·
                                                              '~        -          .                                                            ·,                                                      .                     .       ..
                  sum of $950,000.00, with                             in~e~st                     .at       th~judicial                             rate of 9% per                                 ~um                 frotri the 9ate of the ·

                 verdict, March           p; 2017 to the date.ofentry of Judgme~t, Aprill,i..20l7:'which lnteresi.totaJs




                                                                                                                                  1 of 5
              17-23069-rdd          Doc 29-2 Filed 09/15/17 Entered 09/15/17 17:06:09                           Exhibit
                                           Exhibit 2 - Judgment Pg 4 of 8
                                                                                                     INDEX NO. 69747/2014
WYS?CFF PAS   l:TO    J02                           .                                      ·PFCE upp ·WSGEF,
                                                                                                 1
                                                                                                                  DO 1 1J 1 20 1 7




                 $.   G, 3 d ~ . b' , together w~th costs and disbursements as taxed in the sum of $1,350.0()
               pursuant to the Bill of Costs annexed hereto as Exhibit 2, making In all the sum of

                 $9 5 t, b 1 ~. C.b , and that defendants have execution therefor.


               Judgment signed this IL day of April, 2017.




                                    ·--·-·--··-..- - ' - - -   ----------- ·- ----- ._ ..___ ··-----



                                                                   2




                                                                 2 of 5
            17-23069-rdd                         Doc 29-2 Filed 09/15/17 Entered 09/15/17 17:06:09                                                                                  Exhibit
                                                        Exhibit 2 - Judgment Pg 5 of 8
                                                                                                                                                                       INDEX NO.     69747/2014
N~:B'~. WE>S'l'!GHESTER COUNTY CLERK 04/13/2017 12:21 PMJ RECEI\lllND.1m::Y1VOEF69'Ql41~17
 NYSCEF DOC. NO. 142                                                                                                                             RECEIVED NYSCEF: 04/13/2017




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF WESTCHESTER
         ---------------------------M·----------·MM··-M·----M·-----··X
         NOELLE FELDMAN,                                                                                        Index No.: 69747/2014
                                                             Plaintiff,

                     -against-                                                                                  BILL OF COSTS

         WILLIAM KNACK,

                                                             Defendant.
         ----·······························•M••••••••·-···••••••••••••••X
         Costs and Disbursements of Plaintiff:

         Costs before Note of Issue.,, ....... uuu··"••n•tt••u••••u·,. ................... u .. ,,,,,, ................... ., •.•..•••.• $200.00
         Costs after Note of Issue is filed and before trial ................................................................ $200.00
         Costs for Trial .. ,....... ,,.,,,,,, ................ ~ ..... ,,.,,,,,,,,,,,,,,,,,.,,,.,,, .. ,.. ,,..,,,.,,,"., ....................... ,,,,, .. $300,00
         Filing Fee ............ ,................................... ,,. .. ,... ,,,,, .... "''"''"''' ............................ ,... ,.. ,,,,,,,. ,,., $210,00
         l~equest for Judioiallntervention ... ,,,,,.,, ... ,........                                                                                           H$95.00
                                                                                           u ..................... , .................... , ........................

         Note oflssue .. ,.......... ,,., .. ,.. ,.. ,,.,, .. ,, .. ,.. ,....... ,.............. ,.,.,,,,,,,,,,,,, ......................................... :.... $30.00
         Jury Fee ................................................................................... ,, ............ ,........ ,,,,,,,,,,,.,,,,,,.,, .. ,,.,,$65.00
         Deposition Costs,,,,,,, .. ,................ ,.. ,. ..........".............. "...................................................... ".. $250.00


         Total:,,,, .... ,,.,,,,, .. ,, ... ,....... ,.......................... ,,, ........ ,..... ,.. ,,, ............. ,... ~··· ...... ,,.,,, ...... ,...... ,,., $1 ,350,00


         Dated: White Plains, New York
                Aprilll,2017




                                                                                           3 of 5
           17-23069-rdd             Doc 29-2 Filed 09/15/17 Entered 09/15/17 17:06:09                           Exhibit
                                           Exhibit 2 - Judgment Pg 6 of 8
                                                                                                        INDEX NO. 69747/2014

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  NYSCEF DOC. NO. 142                                       RECEIVED NYSCEF: 04/13/2017




          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF WESTCHESTER
          ················--·-···············----------···········------X
          NOELLE FELDMAN,                                                            Index No.: 69747/2014
                                             Plaintiff,
                                                                                     ATTORNEY'S
                  -against-                                                          AFFIRMATION

          WILLIAM KNACK,

                                             Defendant.

          ---------·····-··-·-··············--·---------··················X

                  The undersigned1 an attorney duly admitted to practice law in the Courts of the State of

          New York, hereby affirms the following under the penalty of perjury:

                  I am a member of the law firm of Bleakley Platt & Schmidt, LLP, attorneys for plaintiff

          Noelle Feldman, and as such, I am fully familiar with the facts and circumstances in this matter;

          that the foregoing costs are correct and were necessarily incurred in this action and are

          reasonable in amount; and that the services for which fees have been charged were actually and

          necessarily performed and arc reasonable in amount.

          Dated: White Plains, New York
                 Aprill3, 2017


                                                                               .H
                                                              Attorneys for Plaint
                                                              ONE NORTH LEX
                                                              P.O. BOX 5056
                                                              WHITE PLAINS, Y 10602-5056
                                                              (914) 949-2700




                                                                 4 of 5
                17-23069-rdd            Doc 29-2 Filed 09/15/17 Entered 09/15/17 17:06:09                                      Exhibit
                                               Exhibit 2 - Judgment Pg 7 of 8
                                                                                                                   INDEX NO.      69747/2014

!iNY~9~CliEE_F,JlD~OC~...,J:Ill.{Q..Q...,,Jl,£,4a,;3---·~---?-lllii'Eiiii'-~--------•rt~B~E!H'fH'l"'!"vi'f!:'~tt-'!il<Y.i"f"S':tSeEF:- 04/13/201F




              SUPREME COURT OF THE. STATE 9F NEW YORK
              COUNTY OF WESTCHESTER'
              ·---------···----····----·~       . -.. -----·~..............._ . ._. . .x
                                                                                           Index No.: 69747i2014
              NOELLE FELDMAN,
                                               Plaintiff,

                      -against·

              WILLIAM KNACK,

                                               Defendant.

              -----------.. -···--·--.. --···-------~-~--······-··-·----·X




                                              NOTICE OF SETTLEMENT




                                                 BLEAKLEY PLAIT & SCHMIDT, LLP
          ~--~--      ____ ..                     Attorneys or Plalntl , Noelle Feldman ·
                                  ·-----=o;,:;N;<-B.::.;NORT LEXINGTON AVE~·----·-. ····--
                                                        WHITE PLAINS, NYl 0601
                                                             (914) 949-2700 .




                                                                          5 of 5
      17-23069-rdd            Doc 29-2 Filed 09/15/17 Entered 09/15/17 17:06:09                         Exhibit
                                     Exhibit 2 - Judgment Pg 8 of 8




SUPREME COURT OF THE STA1E OF NEW YORK
COUNTY OF WESTCHESTER
-----------------------------------------------------------------X
NOELLE FELDMAN,
                                      Plaintiff,                     Index No.: 69747/2014

            -against-                                                 AFFIDAVIT OF SERVICE

WILLIAM KNACK,

                                      Defendant.
-----------------------------------------------------------------X
STATE OF NEW YORK                                  )
                                                   ) ss.:
COUNTY OF WESTCHESTER                              )

            SUSAN LAU, a being duly sworn deposes and says:

            I am not a pa1iy to this action, and am over the age of 18 years and reside in Yonkers, New York.

     On April 13, 2017, I served a true copy of the annexed JUDGMENT WITH NOTICE OF
ENTRY, in the following manner:

o            by transmitting the same to the attorney by electronic means to the telephone number or other
            station or other limitation designated by the attorney for that purpose. In doing so I received a
            signal from the equipment of the attorney indicating that the transmission was received:

D           by delivering the same personally to the person(s) and at the address indicated below a true copy
            of the annexed upon:

D           by depositing the same in a sealed envelope with an overnight, next day delivery service in a
            wrapper properly addressed. Said delivery was made prior to the latest time designated by said
            service . The address and delivery service are designated below: UPS OVERNIGHT DELIVERY

            by mailing a true copy thereof, enclosed in a post-paid wrapper, in an official depository under the
            exclusive care and custody ofthe U.S. Postal Service within New York State addressed to each of
            the following persons at the last known address set forth after each name:

To:         MCCARTHY FINGAR LLP
            Attorneys for Defendant
            11 MARTINE AVENUE
            WHITE PLAINS, NY 10606




    ota     Public
                  LAURIE RIENZI
          Notary Public, State of New York
              •      No. 4975766 14/fliPVL--
          QuaJtfled In Westchester County r   .   ~·
     Commission Expires Dec. 26, 20}..¥'....
